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                              UNITED STATES DISTRICT COURT
                                                                                      JUN 2 0 2019
                                 EASTERN DISTRICT OF TEXAS
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                                                                                       Ifex s Eastern
                                      SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                                 §
   V. § NO. 4:18CR103
               § (Judge Mazzant)
   RICHARD DENVER BELDEN §

                                        FACTUAL BASIS

          The defendant, Richard Denver Belden, stipulates and agrees that the following facts are

  true and correct and that the government possesses sufficient legal and co petent evidence for a

  jury to conclude beyond a reasonable doubt that he committed the offenses charged in the

   indictment:




          1. As charged in Count One of the Indictment, on or about May 2, 2018, in the Eastern

             District of Texas, Richard Denver Belden did knowingly receive more than three

             images of child pornography that had been shipped and transported using any means

             and facility of interstate and foreign commerce, and that they had been shipped and

             transported in and affecting interstate and foreign commerce by any means, including

             by computer. And further, at the time he received the images of child pornography he

             knew the images were child pornography; as defined in 18 U.S.C. § 2256(8).

          2. As charged in Count Two of the Indictment, on or about May 15, 2018, in the Eastern

             District of Texas, Richard Denver Belden did knowingly possess material, namely, a
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           Dell laptop computer, black in color and containing a 240GB PNY hard drive bearing

           identifying number PNY29140000552751002, that contained more than three images

           of child pornography, involving a prepubescent minor and a minor who had not attained

            12 years of age, that had been shipped and transported using any means and facility of

           interstate and foreign commerce, and that they had been shipped and transported in the

           and affecting interstate and foreign commerce by any means, including by computer.

           At the time Belden possessed the aforementioned hard drive he knew it contained child

           pornography, as defined in 18 U.S.C. § 2256(8).

        3. As charged in Count Three of the Indictment, on or about May 15, 2018, in the Eastern

           District of Texas, Defendant Richard Denver Belden did knowingly possess material,

           namely, an HOST 4TB internal hard drive, labeled Movies 4TB and bearing serial

           number LAGG9L4J, that contained images of child pornography involving a

           prepubescent minor and a minor who had not attained 12 years of age, that had been

           shipped and transported using any means and facility of interstate and foreign

           commerce; that had been shipped and transported in and affecting interstate and foreign

           commerce by any means, including by computer. At the time Belden possessed the

           aforementioned hard drive he knew it contained child pornography, as defined in 18

           U.S.C. § 2256(8).
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               DEFENDANT S SIGNATURE AND ACKNOWLEDGMENT

          I have read or had read to me this factual basis and have discussed it with my

          attorney. I fully understand the contents of it and agree without reservation that it

          accurately describes the events and my acts. Further, I understand the facts

          contained herein will be used by the Court to determine the basis for my guilt and

          by the probation office to determine the appropriate uidelines to apply in my case.

 Dated:
                                             RICHARD DENVER BELDEN
                                             Defendant

     DEFEND ANT’S COUNSELS SIGNATURE AND ACKNOWLEDGMENT

          I have read this factual basis and have reviewed it wh i the defendant. Based upon

          my discussions with the defendant, I am axisf ed that the (Rbendant understands it.

 Dated: 23 I                                 (&
                                              LOBERT ARRAMBIDE
                                             Attorney for the Defendant
